Case 7:25-mj-00056-CKM   Document 1-1   Filed 03/17/25   Page 1 of 11   Pageid#: 2
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Case 7:25-mj-00056-CKM   Document 1-1   Filed 03/17/25   Page 2 of 11   Pageid#: 3
Case 7:25-mj-00056-CKM   Document 1-1   Filed 03/17/25   Page 3 of 11   Pageid#: 4
Case 7:25-mj-00056-CKM   Document 1-1   Filed 03/17/25   Page 4 of 11   Pageid#: 5
Case 7:25-mj-00056-CKM   Document 1-1   Filed 03/17/25   Page 5 of 11   Pageid#: 6
Case 7:25-mj-00056-CKM   Document 1-1   Filed 03/17/25   Page 6 of 11   Pageid#: 7
Case 7:25-mj-00056-CKM   Document 1-1   Filed 03/17/25   Page 7 of 11   Pageid#: 8
Case 7:25-mj-00056-CKM   Document 1-1   Filed 03/17/25   Page 8 of 11   Pageid#: 9
Case 7:25-mj-00056-CKM   Document 1-1 Filed 03/17/25   Page 9 of 11   Pageid#:
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Case 7:25-mj-00056-CKM   Document 1-1        Filed 03/17/25   Page 10 of 11   Pageid#:
                                        11
Case 7:25-mj-00056-CKM   Document 1-1        Filed 03/17/25   Page 11 of 11   Pageid#:
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